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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

ROBERT WALTER
                                                                        CIVIL ACTION

VERSUS
                                                                        18-683-SDD-SDJ

PERKINS, ET AL.

                          RULING AND ORDER OF DISMISSAL

        The Court has carefully considered the Complaint1 filed by the Plaintiff, the record,

the law applicable to this action, and the Report and Recommendation2 of United States

Magistrate Judge Scott D. Johnson, dated July 27, 2020, to which an objection3 was filed

and also reviewed.

        The Court hereby approves the Report and Recommendation of the Magistrate

Judge and adopts it as the Court’s opinion herein.

        ACCORDINGLY,        the   Plaintiff's   claims   are   hereby   DISMISSED,    WITH

PREJUDICE, as legally frivolous and for failure to state a claim upon which relief may be

granted pursuant to 28 U.S.C. §§ 1915(e) and 1915A.

        IT IS FURTHER ORDERED that the Court declines to exercise supplemental

jurisdiction over any potential state law claims and this matter is dismissed.

        Signed in Baton Rouge, Louisiana on August 3, 2020.


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                                       CHIEF JUDGE SHELLY D. DICK
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA

1
  Rec. Doc. 1.
2
  Rec. Doc. 6.
3
  Rec. Doc. 7.
